Case 1:14-ml-02570-RLY-TAB Document 22486
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                                                                                 Aug 04, 2022

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION



IN RE COOK MEDICAL, INC. IVC FILTERS                            Case No: 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES, AND                                                   MDL No. 2570
PRODUCT LIABILITY LITIGATION


This Document Relates to:

Gray, Kathleen - 1:17-cv-02100


                   PLAINTIFF’S RULE 41(a)(1)(A)(i) NOTICE OF DISMISSAL
                                   WITH PREJUDICE

            Pursuant to this Court’s Case Management Order Number 28 (Dkt. No. 14601), ¶5(a),

Plaintiff Kathleen Gray hereby dismisses her case with prejudice.

            This dismissal moots the pending Defendants’ Motion for Judgment on the Pleadings.

Dkt. No. 21935.




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